                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                              CASE NO.: 5:05CR235


UNITED STATES OF AMERICA            )
               Plaintiff,           )
                                    )
            v.                      )                         ORDER
                                    )
YANCEY LECALL BANNER,               )
                  Defendant.        )
____________________________________)


        THIS MATTER IS BEFORE THE COURT on the “Motion to Correct Record”

(Document #184) filed by the Defendant, Yancey Lecall Banner, on or about February 25, 2006. In

his motion, the Defendant requests that the docket be corrected to reflect that the Defendant’s plea

was accepted following his Plea and Rule 11 hearing on January 27, 2006, not January 24, 2006.

For the reasons stated in the Defendant’s motion, the motion is hereby ALLOWED.

        IT IS THEREFORE ORDERED that the Clerk take whatever steps are necessary to cause

the record to reflect January 27, 2006 as the correct date for the acceptance of the Defendant’s plea

of guilty.


                                                 Signed: March 13, 2006




    Case 5:05-cr-00235-KDB-DCK             Document 188        Filed 03/14/06      Page 1 of 1
